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                                                                      United States District Court
                                                                        Southern District of Texas

                                                                           ENTERED
                                                                         January 22, 2024
                     UNITED STATES DISTRICT COURT
                                                                        Nathan Ochsner, Clerk
                      SOUTHERN DISTRICT OF TEXAS
                         GALVESTON DIVISION

DARRYL GEORGE, et al.,                  §
                                        §
       Plaintiffs,                      §
                                        §
VS.                                     §              3:24-CV-12
                                        §
GREG ABBOTT, et al.,                    §
                                        §
       Defendants.                      §
                                        §

                                    ORDER

       The defendants have filed a Rule 12(b) motion to dismiss without first

complying with Rule 6 of the Galveston Division Rules of Practice—“Special

Requirement for Motions to Dismiss under Rule 12(b).” The court notes that

the motions to dismiss were filed before the case was transferred to the

Galveston Division. However, in accordance with our local rules, the court

now sua sponte grants the plaintiffs leave to file an amended complaint.

       By February 12, 2024, the plaintiffs must either (i) file an amended

complaint; or (ii) notify the court by letter that they will rely on the complaint

that is the subject of the motion to dismiss.




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      If the plaintiffs elect to file an amended complaint, the defendants may

then either (i) file an answer to the amended complaint; or (ii) file an

amended motion to dismiss the amended complaint.

      If by February 12 the plaintiffs have neither amended their complaint

nor notified the court that they intend not to amend, they will be deemed to

have chosen not to amend.

      If the plaintiffs do not file an amended complaint by February 12, they

will have until February 22 to respond to the motions to dismiss. The

motions will proceed in regular course and the plaintiffs shall not be allowed

to amend until the court has both disposed of the motions to dismiss and—

either sua sponte or on motion of the plaintiffs—granted leave to amend.



     Signed on Galveston Island this 22nd day of January, 2024.




                                      __________________________
                                      JEFFREY VINCENT BROWN
                                      UNITED STATES DISTRICT JUDGE




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